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UNITED STATES DISTRICT COURT DATE FILEDI _'_[Lg_/_`LQ_/__
SOUTHERN DISTRICT OF NEW YORK
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THE EXPORT-IMPORT BANK OF THE
REPUBLIC OF CHINA,
Plaintiff, : l:lS-cv-09565 (ALC)
~against- : OPINION AND ORDER
CENTRAL BANK OF LIBERIA as successor to
the NATIONAL BANK OF LIBERIA,
Defendant.
_______________________________________________________________ X

ANDREW L. CARTER JR., United States District Judge:

This matter comes before the Court on the parties’ joint motion for an indicative ruling
regarding the parties’ joint motion to vacate the Court’s l\/larch 3 l, 2017 Order (the “l\/larch
Order”) (ECF. No. 62) and related April lZ, 2017 Opinion (the “April Opinion”) (ECF No. 66)
under Fed. R. Civ. P. 54(b). The parties have reached a tentative settlement and effectively ask
this Court for a mechanism to restore the status quo ante in event that settlement is breached

PROCEDURAL HISTORY

ln December 2015, Plaintiff EXport-lmport Bank of the Republic of China (“EX-lm
Bank”) commenced this action against the Defendant Central Banl< of Liberia (“CBL”), as
successor in interest to the former National Bank of Liberia (the “NBL”), claiming allegedly
unpaid principal of $44,000,000, allegedly unpaid scheduled interest totaling $35,471,111.()8 as
of December 7, 2009, allegedly unpaid default interest to be calculated, and other monetary
payments allegedly overdue and owing (collectively, the “EX-lm Bank Claims”) under two loan
agreements (the “Loan Agreements”) entered into by EX-Im Banl< and the NBL in December
1989. ln August 2016, the CBL moved to dismiss this action (ECF No. 4l) for lack of subject

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matter jurisdiction under the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602-1611 (the
“FSIA”). In its March Order and related April Opinion, this Court denied the motion, finding
that CBL explicitly Waived sovereign immunity Thereafter, on May 1, 2017, the CBL timely
appealed the Order and Opinion to the United States Court of Appeals for the Second Circuit.
On August 14, 2017, the CBL filed its appellant’s brief in that appeal (the “Appeal”).

Follovving a series of meetings held in Paris, France from November 1 through November
3, 2017, the parties reached agreement on commercial settlement terms. A memorandum of
understanding (the “MOU”) memorializing the basic terms Was executed on November 3, 2017,
and the parties have since been Working diligently to prepare a formal settlement agreement (the
“Proposed Settlement Agreement”), Which the l\/IOU provides must be finalized by December 4,
2017. ln requesting a stay from the Second Circuit, the parties informed the Circuit of the
proposed settlement agreement and the need for a stay to finalize the tentative agreement and
provide for an initial partial payment to Ex~lm Banl<. Second Circuit Dkt. #56. By Order dated
November 9, 2017 (Second Circuit Dkt. #60), the Second Circuit granted the parties’ joint
motion for a stay of the Appeal until February 12, 2018.

ln a telephone conference held on November 29, 2017, the parties sought this Court’s
guidance on next steps. The Court directed the parties to submit papers specifying the relief they
sought and the reasons for it. Since the Court presently lacks jurisdiction over the action, the
parties concurrently filed a joint motion to vacate the l\/iarch Order and April Opinion coupled
With a joint motion for an indicative ruling that the Court Would grant the joint motion to vacate
if the if the Second Circuit dismisses the Appeal at the parties’ request, thereby restoring

jurisdiction to this Court.

 

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FACTUAL BACKGROUND
The impetus for the unusual relief that the parties are requesting is the tentative

settlement ln the case of a default, the parties wish to provide that Ex-lm Bank may reinstate
the Ex-lm Bank Claims against the CBL, but both parties in that circumstance will revert to the
status quo ante and will retain all of their respective claims, defenses, rights, and arguments as
they previously existed_including the CBL’s defenses and arguments based on sovereign
immunity that are the subject of the Court’s March Order and April Opinion and the CBL’s
pending Appeal. Without a mechanism to preserve CBL’s sovereign immunity defense in the
event that the settlement payment is not made, the parties believe that they are unlikely to
achieve settlement. The parties believe achieving settlement will avoid unnecessary, continued
litigation and a concomitant waste of judicial resources. Accordingly, the parties propose the
following procedural steps:

1. The Court grants their joint motion for an indicative ruling under Fed. R. Ci\-'. P. 62.1.

2. The parties file a stipulation in the Second Circuit to dismiss the Appeal.

3. Once the Appeal has been dismissed and this Court regains jurisdiction over this action,
the Court grants the motion to vacate the l\/larch Order and April Opinion.

4. As soon as practicable following the Court’s granting of the motion to vacate and the
initial payment to Ex-lm Banl< on or before January 15 , 2018, Ex-lm Bank dismisses this
action without prejudice

STANDARD OF REVIEW
Generally, the filing of an effective notice of appeal divests the court of jurisdiction over
the case. See Negron v. United States, 394 Fed. App’x 788, 792 (2d Cir. 2010) (citing Grz`ggs v.
Provz`a’ent Consumer Discoant Co., 459 U.S. 56, 58 (1982)). But in certain situations, “it may be

helpful to the parties and to the Court of Appeals to know what the District Court might do if

given the chance to reconsider some aspect of the appealed case.” Zaratzz'an v. Abadz'r, No. 10

 

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CV 9049(VB), 2012 WL 9512531, at *3 (S.D.N.Y. May 30, 2012). Rule 62.1 provides that
mechanism Under Fed. R. Civ. P. 62.1, “if a timely motion is made for relief that the court
lacks authority to grant because of an appeal that is docketed and is pending, the court may: (1)
defer considering the motion; (2) deny the motion; or (3) state either that it would grant the
motion if the court of appeals remands for that purpose or that the motion raises a substantial
issue.”
DISCUSSION

The parties are not asking the Court to issue an indicative ruling on an issue currently
being reviewed by the Court of Appeals or for the Court to express that it believes its own
Opinion is incorrect See Retirement Ba’. OfPolicemen ’s Annuz`ty ana1 Ben. Fund osz`ly Of
Chicago v. Bank ofNew York Mellon, 297 F.R.D. 218, 221 (S,D.N.Y. 2013) (noting that the
drafters of Rule 62.1 did not intend for it to be used by a district court to reconsider the same
question being reviewed by the Court of Appeals). lnstead, the parties seek the Court’s
assistance in facilitating settlement, by allowing the parties to return to the status quo ante in
case settlement fails. There is a strong public policy in this Circuit in favor of the settlement of
disputes See, e.g., Williams v. First Nat. Bank, 216 U.S. 582, 595 (1910) (“[c]ompromises of
disputed claims are favored by the courts”); TBK Partners, Lta’.v. Western Union Corp., 675 F.2d
456, 461 (2d Cir. 1982) (noting the “paramount policy of encouraging settlements”); In re
Tronox [nc., 855 F.3d 84, 106 (2d Cir. 2017) (recognizing a strong judicial policy in favor of
settlement); Davz's v. Blz'ge, 505 F.3d 90, 104 (2d Cir. 2007) (recognizing that the general judicial
policy in favor of encouraging voluntary settlement of disputes extends to copyright and patent
infringement cases). indicating that this Court would grant the motion to vacate would further

this interest in favoring settlement by saving judicial resources and lessening litigation expenses

 

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Moreover, one of the purposes of indicative rulings is to obviate the necessity of appeal See
Retz`relnent Bd., 297 F.R.D. at 221. Here, a meritorious motion to vacate an interlocutory order
because of settlement makes appeal of that order unnecessary.

As to the merits of the motion to vacate, the motion is governed by Fed. R. Civ. P. 54(b).
Under Fed. R. Civ. P. 54(b), district courts are “empowered to revisit and vacate . . . any non~
final order ‘at any time before the entry of a judgment.”’ Sz`noyz`ng Logz'stz'cs Pte Lta’. v. Yz' Da
Xin Traa’z`ng Corp., 619 F.3d 207, 212 (2d Cir. 2010). This is in sharp contrast with a motion to
vacate “a final judgment, order, or proceeding” under Fed. R. Civ. P. 60(b)(6). Relief from a
final judgment under Rule 60(b)(6) “is appropriate only in cases presenting ‘extraordinary’
circumstances.” Fz'rst Fz`a’elz`ty Bank, N.A. v. Gov ’t of Antz'gua & Barbuda-Perlnanent Mission,
877 F.2d 189, 196 (2d Cir. 1989). The standard governing a motion to vacate under Rule 54(b)
is less strict than that under Rule 60(b). See Wanamaker v. Colulnbz'an Rope Co., 907 F. Supp.
522, 527 CN.D.N.Y. 1995) (“lt is within the plenary power of the court ‘to review its
interlocutory orders to afford such relief from them as justice requires, and this power is not
affected by Rule 60(b).”’ (intemal quotations omitted)); Persz`stence Software, Inc. v. The Object
People, Inc., 200 F.R.D. 626, 627 (N.D. Cal. 2001) (“The standard for granting a motion to
vacate under Rule 54(b) is less rigid than that under Rule 60(b) governing vacat[ur] of final
judgments.”); Gallant v. Telebrana’ Corp., 35 F. Supp. 2d 378, 394 n.16 (D.N.J. 1998) (same);
Farr Man & C0. v. M/VRozz`ta, 903 F.2d 871, 875 (lst Cir. 1990) (finding that the district court
erred in vacating an interlocutory order under Rule 60(b)(6), did not need to comply with the
requirements of Rule 60(b)(6), and had the discretionary power to alter the interlocutory order).

The l\/iarch Order denying sovereign immunity to CBL is non-final under Fed. R. Civ. P.

54(b) because it does not “adjudicate[] all the claims and all the parties’ rights and liabilities” in

 

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this action. Fed. R. Civ. P. 54(b); see, e.g., Atlantz'ca Hola’z'ngs v. Sovereign Wealth Fund,
Samruk-Kazyna JSC, 813 F.3d 98, 116 (2d Cir. 2016) (noting that a denial of sovereign
immunity under the Foreign Sovereign immunities Act is a non-final order that is subject to
interlocutory appeal pursuant to the collateral order doctrine); Enahoro v. Abubakar, 408 F.3d
877, 880 (7th Cir. 2005) (stating the same and listing other Circuits in agreement). Thus, the
appropriate standard for the motion to vacate is Rule 54(b), not Rule 60(b).

Vacatur of the March Order would be appropriate under these circumstances “Vacatur
of a decision is appropriate where it benefits the parties but does not run counter to any public
interest,” ]BM Crea’it Corp. v. United Ho)nefor Agea' Hebrews, 848 F. Supp. 495, 495-96
(S.D.N.Y. 1994); cf Jewelers Vigz`lance Co)nm., [nc. v. Vz`tale lnc., 177 F.R.D. 184, 186
(S.D.N.Y. 1998) (“[l]n considering [a motion to vacate under Rule 60(b),] courts must balance
the interests of honoring settlements reached by the parties against the public interest in the
finality of judgments and the development of decisional law.”).

ln ]BM Crea'z`t, the court denied more than one summary judgment motion, and then the
parties reached a tentative settlement conditioned on the vacatur of the summary judgment
orders. The court granted the motion to vacatel and in doing so made two key observations Id.
at 497. First, a “significant benefit to the parties is that a vacated order is not binding on the
parties in future litigation; this benefit to the losing party can become a bargaining chip in
settlement discussions.” [a’. at 496. Second, the “interest of the parties may also be served if

vacatur results in preventing a ruling from having binding precedential impact which may affect

 

l Although the court did not cite a particular rule of the F ederal Rules of Civil Procedure in granting the motion to
vacate, the vacatur presumably was governed by Fed. R. Civ. P. 54(b) because the denial cfa summary judgment
motion is an interlocutory order. See Caldarola v. Calabrese, 298 F.3d 156, 161 (2d Cir. 2002) (“The denial of
summary judgment is ordinarily an interlocutory decision[.]”); Jackson v. Roach, 364 Fed. App’x 138, 139 (5th Cir.
2010) (“[Tjhe denial of a motion for summary judgment is an interlocutory order, which the trial court may
reconsider and reverse for any reason it deems sufficient[.]”).

 

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them in situations capable of repetition; the party favored by the ruling may give up its
precedential benefit in return for the other aspects of the settlement.” Id. Here, Ex~lm Bank
received a positive ruling from this Court-subj ect to the uncertainty of outcome at appeal-but
nevertheless has sought settlement in the context of the agreement achieved between the
parties, CBL would not be able to preserve its sovereign immunity defense, given the uncertain
outcome of appeal, without vacatur of the l\/larch Order. The fact that both parties jointly moved
for vacatur indicates that there is something mutually beneficial in settlement for both sides

As for the public interest, district court decisions are not treated as binding precedents,
but instead serve as persuasive authority. [a’. at 497 (“Once a decision has been filed and in the
public domain, its influence beyond any effect on the parties is based solely upon future readers’
views of its merit, whether vacated in connection with a settlement or not so vacated.”).
Accordingly, there is less of a concern about the development of decisional law when it comes to
district court opinions The vacated April Opinion, thus, will continue to have influence, even if
vacated

Finally, as noted previously, judicial policy favors the settlement of disputes Here, the
case is young: a settlement will greatly conserve judicial resources and time, as well as the
parties’.2 Therefore, a careful balancing reveals that vacatur would serve the parties well, not go
against the public interest, and further a policy of favoring settlements

CONCLUSION
For the reasons set forth above, the parties’ motion for an indicative ruling pursuant to

Fed. R. Civ. P. 62.1 seeking to vacate the l\/larch Order and April Opinion under Fed. R. Civ. P.

 

2 ln fact, this explains the liberal standard for vacatur under Rule 54(b) as compared to Rule 60(b). Judicial
economy is well served by settling in the middle of litigation under Rule 54(b) but absent at the end of litigation
with finaljudgments under Rule 60(b). See Jewelers, 177 F.R.D. at 188.

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54(b) is GRANTED, and the Court states that it would grant the parties’ motion to vacate if

jurisdiction is restored to this Court.
SO ORDERED.

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ANDREW L. CARTER, JR.
United States District Judge

 

 

